






THIS OPINION
  HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN
  ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 239(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				The State, Respondent,
				v.
				Maurice Lee
      Smith, Appellant.
			
		
	


Appeal From Florence County
&nbsp;Edward B. Cottingham, Circuit Court Judge
Unpublished Opinion No. 2008-UP-227
Submitted April 1, 2008  Filed April 11,
  2008&nbsp;&nbsp;&nbsp; 
APPEAL DISMISSED


	
		
			
				Deputy Chief Attorney for Capital Appeals Robert M. Dudek, of Columbia, for Appellant.
				Attorney General Henry Dargan McMaster, Chief Deputy Attorney
  General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, all
  of Columbia; and Solicitor Edgar Lewis Clements, III, of Florence, for
  Respondent.
			
		
	

PER CURIAM:&nbsp; Maurice Lee Smith appeals his conviction
  and sentence for two counts of assault and battery with intent to kill.&nbsp; On
  appeal, Smith argues his guilty plea failed to comply with the mandates set
  forth in Boykin v. Alabama, 395 U.S. 238 (1969), because the trial court
  accepted his guilty plea without securing his waiver of his constitutional
  rights.&nbsp; Smith did not file a separate pro se brief.&nbsp; After a thorough
  review of the record and counsels brief pursuant to Anders v. California,
  386 U.S. 738 (1967), and State v. Williams, 305 S.C. 116, 406 S.E.2d 357
  (1991), we dismiss[1] Smiths appeal and grant counsels motion to be relieved.&nbsp; &nbsp;&nbsp;
APPEAL DISMISSED.
HEARN,
  C.J., PIEPER, J., and GOOLSBY, A.J., concur.

[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

